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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


RRF BUILDING, LLC and                                         No. 1 :23cv341
SOPHIE MARIE LANGFORD,
                   Plaintiffs                                 (Judge Munley)

                       V.


EXCEL DEVELOPMENT GROUP;
NETANEL INVEST USA, INC.; and
MICHAEL HELETZ,
                 Defendants
............................................................................................................
............................................... ........................................................... .

                                                     DER



as counsel for the defendants filed by Joshua L. Schwartz, Justin Tomevi, and

Barley Snyder, LLP (Doc. 23) is hereby GRANTED, and they may withdraw their

entry of appearance in the above-captioned case.

       This case is stayed for a sixty (60) days to allow defendants time to secure

new counsel. It is noted that as two of the defendants appear to be corporations,

they cannot represent themselves in federal court but must be represented by

legal counsel. Rowland v. Cal. Men's Colony, Unit II Men's Advisory Council,

506 U.S. 194, 201-02 (1993) ("It has been the law for the better part of two

centuries .. . that a corporation may appear in the federal courts only through

licensed counsel.")
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     The Clerk of Court is directed to mail a copy of this order to the defendants

addressed as follows:


                          c/o Michael Heletz
                          116-55 Queens Boulevard, Suite 206
                           Forest Hills, NY 1137 .




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